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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  CENTRAL DIVISION

American Family Mutual Insurance                )
Company, S.I.,                                  ) Case No. 3:18-CV-03006-RAL
                                                )
      Plaintiff,                                )
                                                ) DISCOVERY REPORT OF PARTIES’
vs.                                             ) RULE 26(f) MEETING
                                                )
Titan Machinery Inc.,                           )
                                                )
      Defendant.                                )

A.    Date and Place of Meeting and Identification of the Parties and their Attorneys

      1.      The meeting was held telephonically on June 28, 2018.

      2.      The following attorneys were present at the meeting:

              Plaintiff:     American Family Mutual Insurance Company, S.I.

              Plaintiff’s Counsel:   David Taylor
                                     Yost & Baill, LLP
                                     2050 U.S. Bank Plaza South
                                     220 South Sixth Street
                                     Minneapolis, MN 55402
                                     612.338.6000

              Defendant:             Titan Machinery Inc.

              Defendant’s Counsel: Matthew E. Naasz
                                   Gunderson, Palmer, Nelson & Ashmore, LLP
                                   506 Sixth Street
                                   PO Box 8045
                                   Rapid City, SD 57709-8045
                                   605.342.1078

      3.      Insurance Carriers

              Titan Machinery Inc.’s (“Titan”) carrier is Zurich American Insurance Company.
              There is insurance available to cover the claim in sufficient limits.

              No claims which could involve liability insurance are being made against
              American Family Mutual Insurance Company, S.I. (“American Family”)
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B.   Description of the Case

     4.       Plaintiff American Family alleges the following facts:

     Sometime in April 2014, American Family’s insured, Daniel Koeck, purchased a Case IH
     AF8230 combine, from Titan’s dealership in Highmore, South Dakota. On or about July
     27, 2016, significant repairs, including replacement of a fuel line, were performed on the
     Combine by Titan. On or about July 28, 2018, the Combine caught fire, due to a fuel line
     failure, while being operated in a field in or near Miller, South Dakota. The fire caused
     $310,477.23 in damage to the Combine, the Header, as well as other personal property.
     At the time of the fire, Daniel Koeck had insurance on the Combine through American
     Family. Pursuant to the terms of the policy, American Family paid Koeck $310,477.23
     for the damage to the Combine, the Header, as well as other personal property and Koeck
     incurred a deductible in the amount of $5,000.00. American Family alleges that Titan
     was negligent in its repair of the Combine directly resulting in the total loss fire.

     Claims

     American Family brings negligence and breach of contract claims for a particular purpose
     against Titan.

     Defenses

     Titan denies it was negligent or breached any contract or warranty and asserts affirmative
     defenses of contributory negligence and assumption of the risks. Titan is seeking
     recovery of its costs and disbursements.

     5.       Jurisdiction is based on diversity jurisdiction under 28 U.S.C. § 1332. Diversity is
              satisfied because American Family is a Wisconsin insurance company with its
              principal place of business in Wisconsin and Titan is a North Dakota foreign
              business corporation with its headquarters in North Dakota. The amount in
              controversy is satisfied because American Family is seeking over $75,000 in its
              subrogation claim.

     6.       The material issues to be resolved are whether Titan negligently repaired the
              Combine and whether said negligence constitutes a breach of contract/warranty
              for the work performed, as well as the nature and extent of damage, if any, and
              Titan’s affirmative defenses.

C.   Pleadings

     7.       Plaintiff filed its Complaint on April 30, 2018 and Titan filed its Answer on June
              4, 2018.

     8.       Motions to amend the pleadings or add a party, if any, will be filed by November
              1, 2018.

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     9.     A jury trial is available and Plaintiff requested a jury trial in its Complaint.

D.   Initial Discovery Plan

     10.    Parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before July 30,
            2018.

E.   Discovery Plan

     11.    The Parties do not anticipate the discovery of electronic information, and the
            parties anticipate exchanging hard copies of discovery materials. In the event that
            there is electronic information available, the parties agree to exchange the
            information in a PDF and/or on a flash jump drive.

            In the event there is disclosure or discovery of electronic information, the parties
            agree to make reasonable efforts to provide such information to each other, in
            narrative form if and when the need arises, with the opposing parties likewise
            reserving their right to object to any such request. The parties anticipate bearing
            their own costs of consultation with their respective forensic ESI experts. The
            parties agree to make all reasonable efforts to solve any disputes that may arise
            among the parties in regard to the scope of discovery or disclosure, or the costs of
            the same. Parties will attempt to address these issues, to the extent that any arise,
            without the Court’s intervention.

     12.    Each party is permitted to issue up to 50 interrogatories to each party, including
            all discrete subparts; unlimited requests for production; and unlimited requests for
            admissions.

     13.    Each party is permitted to conduct up to 5 fact witness depositions.

     14.    A witness, including expert witnesses, may be deposed one time pursuant to the
            Rules of Federal Procedure. Each deposition shall be limited to seven hours,
            exclusive of breaks, or as otherwise provided by the FRCP.

     15.    All discovery shall be completed by May 1, 2019. All discovery must be
            served in sufficient time to provide the responding party with the necessary
            response time so that responses are due on or before May 1, 2019.

     16.    Each part anticipates up to 3 expert witnesses. The parties anticipate each side
            may have 1 mechanical engineering expert, 1 cause and origin expert, and
            possibly 1 damages expert.

     17.    Plaintiff shall disclose the name, address, and vita of all expert witnesses, and
            shall serve the report required by Fed. R. Civ. P. 26(a)(2)(B) on or before
            January 1, 2019.



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                Defendant shall disclose the name, address, and vita of all expert witnesses, and
                shall serve the report required by Fed. R. Civ. P. 26(a)(2)(B) on or before
                March 1, 2019.

                Plaintiff shall disclose the name, address, and vita of all rebuttal expert witnesses,
                and shall serve the report required by Fed. R. Civ. P. 26(a)(2)(B) on or before
                April 1, 2019.

         18.    It is anticipated that each party will be taking expert depositions.

         19.    Each party is permitted to take the deposition of each expert identified in
                Paragraph 16. For discovery depositions, the party requesting the deposition is
                required to pay for the expert’s fees for attendance at the deposition, but the party
                on whose behalf the expert is testifying will be responsible for the expert’s fees
                incurred in preparation for the deposition. For trial depositions, the party
                requesting the deposition is required to pay the all of the expert’s fees, including
                those incurred in preparation of the deposition.

         20.    Parties agree that discovery responses must be supplemented (pursuant to Rule
                26(e)) as soon as possible and no later than thirty (30) days before trial unless
                good cause exists.

F.       Dispositive Motions and Trial

         21.    Dispositive motions are expected and shall be filed by June 3, 2019.

         22.    It is anticipated that the trial on this matter will last approximately 4-5 days.

         23.    The parties DO NOT consent to assignment of the case to a United States
                Magistrate Judge.

G.       Settlement

         The parties have briefly discussed settlement and will attempt to determine whether they
         can amicably resolve the case early in the litigation. The parties are not seeking a
         settlement conference at this time, but will advise the Court in the event the parties desire
         a settlement conference with a magistrate judge.

         24.    On June 27, 2018, Plaintiff issued a settlement demand to Titan and on July 2,
                2018 Titan responded to the demand. No settlement has been reached at this time.
         25.    No other matters at this time.




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Dated:   July 11, 2018                           /s/ Steven L. Theesfeld
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                                         Michelle D. Hurley Pro Hac Vice
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